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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

Consumer Financial Protection Bureau,           )
                                                )
        Plaintiff,                              )
                                                )
v.                                              )                Case No. 2:24-cv-1301-RJC
                                                )
Reliant Holdings, Inc. and                      )                Judge Robert J. Colville
Robert Kane,                                    )
                                                )
        Defendants.                             )


                             PLAINTIFF’S NOTICE OF DISMISSAL

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), the Plaintiff, Consumer Financial

Protection Bureau, dismisses with prejudice this action against Defendants Reliant Holdings, Inc. and

Robert Kane.


Dated: April 23, 2025                                    Respectfully submitted,


                                                         Attorneys for Plaintiff,
                                                         Consumer Financial Protection Bureau

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                                   JADE A. BURNS
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